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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE

                                                     :
ARCH INSURANCE COMPANY,
                                                     :
                         Plaintiff,                  :
                                                     : Civil Action No. 2:23-CV-02689
                 v.                                  :
                                                     :
VARSITY BRAND HOLDING CO., INC.;                     :
and U.S. ALL STAR FEDERATION, INC.,                  :
                                                     :
                         Defendants.                 :
                                                     :

                      MOTION FOR LEAVE TO APPEAR PRO HAC VICE

          I, Sharon F. McKee, Esq., hereby apply to the United States District Court for the

Western District of Tennessee, pursuant to Local Rule 83.4(d), for permission to appear and

participate in the above-entitled action on behalf of Plaintiff Arch Insurance Company, by whom

I have been retained.

          1.     I am an attorney licensed to practice law in the Commonwealth of Pennsylvania

(Admitted on 5/7/1998; Bar No. 81499) and the State of New Jersey (Admitted 5/27/1998; Bar

No 004391998), and I am a shareholder of the law firm Hangley Aronchick Segal Pudlin &

Schiller.

          2.     My office address is One Logan Square, 27th Floor, Philadelphia, PA 19103-

6933, Telephone: 215-568-6200, Facsimile: 215-568-0300.

          3.     I am a member of good standing and eligible to practice before the following

courts:

   Title of Court                                                        Date Admitted

   United States Court of Appeals for the Third Circuit                  11/20/2003

   U.S. District Court for the Eastern District of Pennsylvania          6/26/1998
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   U.S. District Court for the Middle District of Pennsylvania           8/4/2005

   U.S. District Court for the Western District of Pennsylvania          10/7/2005

   U.S. District Court for the District of New Jersey                    6/30/1998

   U.S. District Court for the Southern District of Indiana              12/12/2008



       4.      I certify that I subject myself to the jurisdiction of the United States District Court

for the Western District of Tennessee and have obtained and familiarized myself with and agree

to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8

(Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

       5.      In support of my application to appear pro hac vice, please find Certificates of

Good Standing from the Supreme Court of Pennsylvania, the New Jersey Supreme Court, and

the United States District Court for the Eastern District of Pennsylvania, attached hereto as

Exhibit A.

       6.      A proposed order, in Word format, granting this Motion will be emailed to the

ECF mailbox of the presiding judge.

                            CERTIFICATE OF CONSULTATION

       I hereby certify that I conferred with counsel for Defendant U.S. All Star Federation, Inc.

(“USASF”) and Defendant Varsity Brands Holding Co., Inc. through email on December 20 and

December 21, 2023. Counsel for Defendants confirmed that this motion is unopposed.




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                                      Respectfully submitted,

 Dated: January 2, 2024               HANGLEY ARONCHICK SEGAL PUDLIN
                                      & SCHILLER

                                      By: /s/ Sharon F. McKee
                                      Ronald P. Schiller (application for admission
                                      pro hac vice forthcoming)
                                      Sharon F. McKee
                                      One Logan Square, 27th Floor
                                      Philadelphia, PA 19103-6933
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                                      WILSON ELSER MOSKOWITZ EDELMAN
                                      & DICKER LLP
                                      James Burd (TN Bar No. 34940)
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                                      craig.lamb@wilsonelser.com

                                      Counsel for Plaintiff Arch Insurance Company




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                                 CERTIFICATE OF SERVICE

        I, Sharon F. McKee, Esq., certify that on January 2, 2024, I caused a true and correct

copy of the foregoing Motion for Leave to Appear Pro Hac Vice to be filed using the Court’s

electronic filing system, which generates an automated notice of filing to all counsel of record in

this action.


Dated: January 2, 2024                                /s/ Sharon F. McKee
                                                     Sharon F. McKee
